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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               EASTERN DIVISION


UNITED STATES OF AMERICA                                                      PLAINTIFFS

vs.                                            CRIMINAL ACTION NO. 4:05-cr-28 HTW-2
                                                    CIVIL ACTION NO. 4:10cv64HTW

BILLY RAY SHOWS, II                                                          DEFENDANT


                ORDER ADOPTING REPORT AND RECOMMENDATION

        This matter is before the court pursuant to the Report and Recommendation of

United States Magistrate Judge Linda Anderson which clearly notified the respective

parties in the above-styled and numbered cause that failure to file written objections to

the findings and recommendations contained therein within fourteen (14) days from the

date of filing would bar further appeal in accordance with Title 28 U.S.C. § 636, and this

court, finding that there has been no submission of written objections by any party,

hereby adopts said Report and Recommendation as the order of this court. A copy of

the Report and Recommendation was mailed to the defendant July 19, 2013, but the

mailing was returned as undeliverable on August 1, 2013. It is incumbent upon litigants

to keep the Clerk of Court advised of a current mailing address.

        It is, therefore, ordered that this court denies defendant Show’s [docket no. 104]

Motion to Vacate and dismisses Civil Action No. 4:10cv65 pursuant to FED.R.CIV.P.

41(b), with prejudice.

        SO ORDERED, this the 14th day of August, 2013.


                                          s/ HENRY T. WINGATE
                                          UNITED STATES DISTRICT JUDGE
